 ..,, ..    (R~.,,.,,        RBS . .
                                  Case 2:15-cv-05045-RBS Document 1 Filed 08/26/15 Page 1 of 11
                                                                                                  CIVIL COVERSHEET.
 The JS 44 civil cover sheet and the information contamed herem neither replace nor supplement the filmg and service of_pleadmgs or other papers as reqmred by law, except as provided
                                                                                                                                                                                                              .                      /50. 50~                                                         .~
 by local rules of court. This form, approved by the Jud1c1al Conference of the Umted States m September I 974, 1s reqmred for the use of the Clerk of Court for the purpose of m1tiatmg .
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)                                                                                                                   ~

 I.   (a)   PLAINTIFFS                                                                                                                                   DEFENDANTS

BRIAN COLODONATO                                                                                                                                           ONEMAIN FINANCIAL, INC                                                    15                               5045
      (b) County of Residence of First Listed Plaintiff _B_u_c_k_s~(_P_A_)~----­                                                                         County of Residence of First Listed Defendant                                                     Baltimore (MD)
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                                                     NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                                                                            LAND INVOLVED.


      (c) Attorney's (Finn Name, Address, and Telephone Number)                                                                                           Attorneys (If Known)

Michael Alan Siddons, The Law Office of Michael Alan
Siddons, Es uire, 230 N. Monroe Street, PO Box 403, Media, PA
  II. BASIS OF JURISDGON (Placean"X''inOneBoxOnly)         III.                                                                              CITIZENSHIP OF PRINCIPAL P ARTIES(Place an "X" in One Box for Plaintiff
                                                                                                                                                 (For Diversity Cases Only)                            and One Box for Defendant)
 0 l     U.S. Government                   1!11 3 Federal Question                                                                                                        PTF DEF                                     PTF      DEF
            Plaintiff                                    (U.S. Government Not a Party)                                                      Citizen of This State         0 1 0 1 Incorporated or Principal Place      0 4     0 4
                                                                                                                                                                                  of Business In This State

 0 2     U.S. Government                   0 4 Diversity                                                                                    Citizen of Another State                           0 2            0       2     Incorporated and Principal Place                    0    5       0 5
            Defendant                                                                                                                                                                                                          of Business In Another State
                                                         (Indicate Citizenship of Parties in Item Ill)
                                                                                                                                                                                               0 3            0       3     Foreign Nation                                      0    6       0 6

 IV.     NATURE OF SUIT rPJacean"X"inOneBoxOnlvl


 0    110 Insurance                        PERSONAL INJURY                                     PERSONAL INJURY                              0 610 Agriculture                                        0 422 Appeal 28 USC 158                                         0 400 State Reapportionment
 0    120 Marine                       0    310 Airplane                                 0       362 Personal Injury -                      0 620 Other Food & Drug                                  0 423 Withdrawal                                                0 410 Antitrust
 0    130 Miller Act                   0    315 Airplane Product                                     Med. Malpractice                       0 625 Drug Related Seizure                                            28 USC 157                                         0 430 Banks and Banking
 0    140 Negotiable Instrument                 Liability                                0      365 Personal Injury -                                   of Property 21 USC 881                                                                                       0 450 Commerce
 0    I50 Recovery of Overpayment      0    320 Assault, Libel &                                     Product Liability                      0 630 Liquor Laws                                      ~F:,...,.,·Jp"'J=~··•=Pv=u•T"'·M,"'mu=-=nc-ow=•011""s·""•,....-.,'"'.o 460 Deportation
         & Enforcement ofJudgment               Slander                                  0      368 Asbestos Personal                       0 640 R.R. & Truck                                       0 820 Copyrights                                                0 470 Racketeer Influenced and
 0    151 Medicare Act                 0    330 Federal Employers'                                   Injury Product
                                                                                                            650 Airline Regs.               q                                                        0 830 Patent                                               '~            Conupt Organizations
 0    152 Recovery of Defaulted                 Liability                                           O' 660 Occupational
                                                                                                     Liability                                                                                       0 840 Trademark                                                1!11 480 Consumer Credit
          Student Loans                0    340 Marine                    PERSONAL PROPERTY                            Safety/Health                                                                                                                               490 Cable/Sat TV
          (Exel. Veterans)             0    345 Marine Product           0 3 70 Other Fraud         0 690 Other                                                                                                                                                0   810 Selective Service
 0    153 Recovery of Overpayment               Liability                0 3 71 Truth in Lending  "'::""·;,.,-il\,;,tlii~"°>...;·;,:;•;;;·;;,L,..A'"'B"'O"'R""•"'-
                                                                                                                                                        .. """'·-.,,,····;R,......,<"'&+,0'...."''"'
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                                                                                                                                                                                                          ."".JA""''"'·lli""ii"''S""'E""cmuT"'                     850 Securities/Commodities/
          of Veteran's Benefits        0    350 Motor Vehicle            0 380 Other Personal       0 710 Fair Labor Standards                                                          0 861 HIA (1395ff)                                                             Exchange
 0    160 Stockholders' Suits          0    355 Motor Vehicle                   Property Damage                       Act                                                               0 862 Black Lung (923)                                                 0   875 Customer Challenge
 0    190 Other Contract                        Product Liability        0 385 Property Damage      0 720 Labor/Mgmt Relations                                                          0 863 DIWC/DIWW (405(g))                                                       12 USC 3410
 0    195 Contract Product Liability   0    360 Other Personal                  Product Liability   0 730 Labor/Mgmt.Reporting                                                          0 864 SSID Title XVI                                                   0   890 Other Statutory Actions
 0    196 Franchise                             Iniurv                                                               & Disclosure Act                                                   0 865 RSI (405(.,))                                                    0   891 Agricultural Acts
 r·     <REAlh'IPR.bPER'f¥1• ·. '·*'       ··/CrtliIIT;ruGm!SW:• . +:PRJ:S()NER.PETITIONS;.;.. 0 740 Railway Labor Act                                                                  c,A!@EEDERl4L"TAX>$tJITS . , 0                                             892 Economic Stabilization Act
 0 210 Land Condemnation               0    441 Voting                   0 510 Motions to Vacate    0 790 Other Labor Litigation                                                        0 870 Taxes (U.S. Plaintiff                                            0   893 Environmental Matters
 0 220 Foreclosure                     0    442 Employment                      Sentence            0 791 Empl. Ret. Inc.                                                                                     or Defendant)                                    0   894 Energy Allocation Act
 0 230 Rent Lease & Ejectrnent         0    443 Housing/                    Habeas Corpus:                           Security Act                                                       0 871 IRS-Third Party                                                  0   895 Freedom oflnformation
 0 240 TOrts to Land                            Accommodations           0 530 General                                                                                                                      26 USC 7609                                                Act
 0 245 Tort Product Liability          0    444 Welfare                  0 535 Death Penalty        "''"''· 'll\fM1.GR'.AiilO.N7;""•.:w&il..                                                                                                                   0   900Appeal ofFee Determination
 0 290 All Other Real Property         0    44 5 Amer. w /Disabilities - 0 540 Mandamus & Other 0 462 Naturalization Application                                                                                                                                       Under Equal Access
                                                Employment               0 550 Civil Rights         0 463 Habeas Corpus -                                                                                                                                              to Justice
                                       0    446 Amer. w/Disabilities - 0 555 Prison Condition                       Alien Detainee                                                                                                                             0   950 Constitutionality of
                                                Other                                               0 465 Other Immigration                                                                                                                                            State Statutes
                                       0    440 Other Civil Rights                                                  Actions




         •RIGIN              (Place an "X" in One Box Only)                                                                                                                                                                                                                  Appeal to District
         Original         0 2 Removed from                               0 3 Remanded from                                      0 4 Reinstated or 0                              5 Transferred from                         0 6 Multidistrict                       0 7 Judge from
                                                                                                                                                                                                                                                                        Magistrate
         Proceeding               State Court                                           Appellate Court           another district          Reopened
                                                                                                                                            Litigation
                                                                                                                  (snecifv)                                                                                                                                                  Judmnent
                                               C1t§1t}Yc· fg~z,ta~t~W~~r which you are filing (Do not cite jurisdictional statutes unless diversity):
 VI.     CAUSE OF ACTION                     1-B-r-ie-f-de-s-cr-ip-t-io_n_o_f-ca-u-se-:------------------------------------
                                                 Abusive and Unlawful Debt Collection                                                                                                                                                                                            ,..-""'\.
 VII.       REQUESTED IN                       0       CHECK IF THIS IS A CLASS ACTION                                                           DEMAND $                                                              CHECK YES only if demanded ii) complaiq\:
         COMPLAINT:                                    UNDER F.R.C.P. 23                                                                                                                                               JURY DEMAND:                                 0 Ye/ '21° No/
 VIII.      RELATED CASE(S)
            IF   ANY
                                                    (See instructions):
                                                                                         JUDGE                                                                                                            DOCKET NUMBER                                        AUG         Mo15
 DATE




      RECEIPT#                    AMOUNT                                                            APPL YING IFP                                                               ruDGE                                                    MAG.WOGE
                             Case 2:15-cv-05045-RBS Document 1 Filed 08/26/15 Page 2 of 11
JS 44 Reverse (Rev. 12/07)


                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                  Authority For Civil Cover Sheet
    The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint
filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title.
         (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time
of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases,
the county of residence of the "defendant" is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney ofrecord. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".
II.     Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an "X" in one
of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box
1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.
IV.     Nature of Suit. Place an "X" in the appropriate box. Ifthe nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select
the most definitive.
V.       Origin. Place an "X" in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date ofremand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multi district Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box
is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge's decision.
VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity.          Example:               U.S. Civil Statute: 47 USC 553
                                                  Brief Description: Onauthonzed reception of cable service
VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
VIII. Related Cases. This section of the JS 44 is used to reference related pending cases if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.
Date and Attorney Signature. Date and sign the civil cover sheet.
                           Case 2:15-cv-05045-RBS Document 1 Filed 08/26/15 Page 3 of 11

                                                                    UNITEDSTATESDISTRICTCOURT                                                      l5                     5
F'OR THE EASTERN DISTRICT OF PENNSYLVANIA-DESIGNATION FORM to be used by counsel to indicate the category of the ease for the purpose
                                                                                                                                                                                04p
assignment to appropriate calendar.

Address 9f Plaintiff:         Brian Coladonato                  1045 N West End Bl yd #347. Quakertown PA 18951

Address of Defendant:            One Main Financial, 6610 Moore town Rd Ste L, Williamsburg, VA 23188

Place of Accident, Incident orTransoction:._B....,u...,,,.._.__,"""--------------------------------------
                                               (Use Reverse Side For Additional Space)

Does tills civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation ownin                             more of its stock?
  (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7. l(a))                                              YesD


Does this case involve multidistrict litigation possibilities?                                                                              YesO
RELATED CASE, IF ANJ':
Case N u m b e r : - - - - - - - - - - - Judge _ _ _ _ _ _ _ _ _ _ _ _ _ _ Datc Tcnninated: - - - - - - - - - - - - - - - - - - -

Civil cases are deemed related when yes is answered to any of the following questions:

I. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court'/
                                                                                                                                            YesO     No~
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously tenninated
    action in this court?
                                                                                                                               YesD Nol29
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
      terminated action in this court:?                                                                                                     YcsD         NoGi!I

4. JS this case a second or successive habeas corpus, social security appeal, or pro sc civil rights case filed by the same individual?
                                                                                                                                            YesD          NoIBI

CIVIL: (Place V' in ONE CATEGORY ONLY)
A. Federal Question Cases:                                                                                            B. Diversity Jurisdiction Cases:
 1. D Indemnity Contract, Marine Contract, and All Other Contracts                                                    1. D Insurance Contract and Other Contracts
 2. D PELA                                                                                                            2. D Airplane Personal Injury
 3. D Jones Act-Personal Injury                                                                                       3. D Assault, Defamation
 4.    D Antitrust                                                                                                    4. o Marine Personal Injury
 5. D Patent                                                                                                          5. D Motor Vehicle Personal Injury
 6. D Labor-Management Relations                                                                                                           6. D Other Personal Injury (Please
                                                                                                                                           specify)
 7. D Civil Rights                                                                                                    7. D Products Liability
  8. D Habeas Corpus                                                                                                  8. D Products Liability -          Asbestos
 9. D Securities Act(s) Cases                                                                                         9. D All other Diversity Cases
 !~Social Security Review Cases 15 use, et seq                                                                                                      (Please specify)
                         ,                       Abusive and Unlawful Debt Collection
 I I. !!ii     ll other l' cdcral Question Cases
             ( . ease specify)
                                                                           ARBITRATION CERTIFICATION
                                    f   .I   J                                       (Check Appropl'iate Categoiy)
                               A
 I,__HL--'-'-1..::cc..h.;.;"-;,:.-.e....,;;;,,,.\:...-_·_>_•_4_~_..._5______,, counsel of record do hereby certify:
    O Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
 $150,000.00 exclusive of interest and costs;
    o Relief other than monetazy damages is sought.

 DATE:       _9'-'/'---cq-'-/--'/s____· __                   ·~A~
                                                                 Attorney-at-Law                                                          Attorney I. D .#
                                                 NOTE: A trial de novo will be a trial by jury only iftbere has been compliance with F.RC.P. 38.

 I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
 except as noted above.


 DATE=~--'--~-----
                  9 / 1/15'                                                                                                                  PA BAR:89018
                                                                     Attorney"at-1.aw                                                            Attorney LD.#
 CIV. 609 (6/08)
                Case 2:15-cv-05045-RBS Document 1 Filed 08/26/15 Page 4 of 11

                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                        CASE MANAGEMENT TRACK DESIGNATION FORM

                                                                                   CIVIL ACTION
BRIAN COLODONATO
                          v.
ONEMAIN FINANCIAL, INC                                                                  n~
                                                                                   NO.

  In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
  plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
  filing the complaint and serve a copy on all defendants. (See § I :03 of the plan set forth on the reverse
  side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
  designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
  the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
  to which that defendant believes the case should be assigned.

  SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

  (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                                            ( )

  (b) Social Security - Cases requesting review of a decision of the Secretary of Health
      and Human Services denying plaintiff Social Security Benefits.                                                 ( )

  (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.                     ( )

  (d) Asbestos - Cases involving claims for personal injury or property damage from
      exposure to asbestos.                                                                                          ( )

  (e) Special Management- Cases that do not fall into tracks (a) through (d) that are
      commonly referred to as complex and that need special or intense management by
      the court. (See reverse side of this form for a detailed explanation of special
      management cases.)                                                                                             ( )

  (f) Standard Management- Cases that do not fall into any one of the other tracks.                                 -~


    f'flh_p;~
  Date      '
                                 ~~1/.//ffF
                                     Attorney-at-law                 __.:_~:..!A-=-tt~o.::...rLn'"""'e-y_t_o_r_ _ _ _ __

                                      (866)   861-1390                    msiddons@siddonslaw.com
  blO-ol.SS-7.&oo
  Telephone                           FAX Number                             E-Mail Address


  (Civ. 660) 10/02
          Case 2:15-cv-05045-RBS Document 1 Filed 08/26/15 Page 5 of 11

                              Civil Justice Expense and Delay Reduction Plan
                             Section 1:03 - Assignment to a Management Track

    (a)          The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

    (b)           In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

    (c)         The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

     (d)         Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

     (e)        Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

                            SPECIAL MANAGEMENT CASE ASSIGNMENTS
                             (See §1.02 (e) Management Track Definitions of the
                               Civil Justice Expense and Delay Reduction Plan)

     Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.l of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
                         Case 2:15-cv-05045-RBS Document 1 Filed 08/26/15 Page 6 of 11
                                                Krohn & Moss, LtJ.
                            ~         CJilarni.., FtariJ,., l/Jinoi., lnJi- Mmn-ol.. Mi..ouzi, N-4 OlUo,   m-•....,..;,,, W~ IJCJ
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                                                                                 July 10, 2015
         USDC Eastern District of Pennsylvania
         601 Market Street
         Philadelphia, PA 19106-1797

                         Re: Colodonato, Brian v. One Main Financial

         Dear Sir or Madam:

                    Please find enclosed the following:

                    1.        One (1) original and two (2) copies of the Complaint;

                    2.        One (1) original and two (2) copies of the Summons;

                    3.        One (1) original and two (2) copies of the Civil Case Cover sheet;

                    4.        One (1) original and two (2) copies of the Designation Sheet;

                    5.        One (1) original and two (2) copies of the Notice of Appearance;

                    6.        One (1) original and two (2) copies of the Case management track designation
                              form; and

                    7.        A check in the amount of $400.00

         Please file and return our conformed copies in the self-addressed stamped envelope provided.
         Please feel free to contact me directly if you have any questions regarding this matter.

                                                                                 Sincerely,



                                                                                 Ricardo Teamor
             Case 2:15-cv-05045-RBS Document 1 Filed 08/26/15 Page 7 of 11



               RBS             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

BRIAN COLODONATO,                              )
                                               )
                Plaintiff,                     )

       v.
                                               )
                                               )          No.
                                                                         15
                                               )
ONEMAIN FINANCIAL, INC.,                       )
                                               )
                Defendant.                     )

                                     PLAINTIFF'S COMPLAINT

       NOW COMES Plaintiff, BRIAN COLODONATO ("Plaintiff'), by and through his

attorneys, and for his Complaint against Defendant, ONEMAIN FINANCIAL, INC.

("Defendant"), alleges as follows:

                                        Nature of the Action

        1.      This action is brought by Plaintiff pursuant to the Telephone Consumer Protection

Act ("TCPA"), 47 U.S.C. § 227 et seq.

                                       Jurisdiction and Venue

       2.       Jurisdiction of this court arises pursuant to 28 U.S.C. § 1331 and 47 U.S.C. § 227.

        3.      Venue is proper pursuant before this Court pursuant to 28 U.S.C. § 1391(b)(2) as
                                '\
the acts and transactions giving rise to this action occurred in this district as Plaintiff resides in

this district and Defendant transactions business in this district.

                                                Parties

       4.       Plaintiff 1s a natural person residing m Bucks County m Quakertown,

Pennsylvania.

        5.      Defendant is a business entity incorporated in Delaware, wholly owned by

Citigroup, Inc., and headquartered at 100 International Drive, Baltimore, MD 21202.
           Case 2:15-cv-05045-RBS Document 1 Filed 08/26/15 Page 8 of 11



          6.    Defendant acted though its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers.

                                         Factual Allegations

          7.    Around August 2014, Defendant began placing calls to (267) 334-56xx,

Plaintiffs cellular telephone.

          8.    Upon information and good faith belief, based on the frequency, number, nature

and character of these calls, Defendant placed them by using an automatic telephone dialing

system.

          9.    These calls were to attempt to collect payments for a personal loan.

          10.   These calls were for non-emergency purposes.

          11.   On January 30, 2015, at 10:30 a.m., Plaintiff received a call from Defendant and

instructed Defendant, through its employee, representative, or agent, to stop calling him.

          12.   Plaintiff revoked any consent, express or otherwise, for Defendant to use an

automatic telephone dialing system to call his cell phone.

          13.   Defendant continued to use an automatic telephone dialing system to call

Plaintiffs cell phone.

          14.   Between January 30 and March 31, 2015, Defendant used an automatic telephone

dialing system to call Plaintiffs cellular telephone at least sixty-four (64) times.

          15.   Defendant called Plaintiff multiple times per day.

          16.   Defendant called Plaintiff up to five (5) times in a single day.

          17.   Defendant willfully and voluntarily used an automatic telephone dialing system to

place these calls.




                                                  2
           Case 2:15-cv-05045-RBS Document 1 Filed 08/26/15 Page 9 of 11




         18.    Defendant intended to use an automatic telephone dialing system to place these

calls.

         19.    Defendant did not have Plaintiffs express consent to use an automatic telephone

dialing system to place these calls.

                                       CLAIM FOR RELIEF

                           Count I - Telephone Consumer Protection Act

         20.    Defendant's actions alleged supra constitute numerous negligent violations of the

TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each and every

violation pursuant to 47 U.S.C. § 227(b)(3)(B).

         21.    Defendant's actions alleged supra constitute numerous and multiple knowing

and/or willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory

damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

         WHEREFORE, Plaintiff prays that judgment be entered against Defendant for the

following:

         (1) Statutory damages of $500.00 for each and every negligent violation of the TCP A

pursuant to 47 U.S.C. § (b)(3)(B);

         (2) Statutory damages of $1500.00 for each and every knowing and/or willful violation

of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

         (3) All court costs, witness fees and other fees incurred; and

         (4) Awarding such other and further relief as may be just, proper and equitable.
         Case 2:15-cv-05045-RBS Document 1 Filed 08/26/15 Page 10 of 11



Dated:                               Respectfully submitted,


                                     By:~.~
                                     Michael A. Siddons, Esquire
                                     The Law Office of Michael Alan Siddons, Esquire
                                     230 N. Monroe Street
                                     PO Box403
                                     Media, PA 19063




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                      VERIFICATION OF CO..MrLAIN.T aND CERTIFICATION


     STA TE OF PENNSYLVANIA

            Plainti~,   RR IAN COLODONATO, states the following:

       I.      I am the Plaintiff in this civil proceeding.
       2.      I have read the above-en.titled civil Complaint prepared by my attomeys and I believe
               that all of the facts contained in. it are true, to the best of my knowledge, information
               and belief fotmed after reasonable inquiry.
       3.      I believe that this civil Complaint is well grounded i11 fact and warranted by existing
               law or by a good faith argument for the extension, modification or reversal of existing
               law.
       4_      I believe that this civil Complaint is not interposed for any improper purpose, such as
               to harass any Defendant(s), carn;e u11necessa1'Y delay to any Dcfendant(s), or create a
               needless increase in. the cost of litigation to any Defendant(s), nwned in the
               Complaint.
       5.      Thave filed this Complaint in good faith and solely for the purposes set forth in it.
       6.      Each and every exhibit I have provided to my attorneys which has been attached to
               this Complaint is a true and correct copy of the original.
       7.      Ritcept for clearly indicated redactions made by my attorneys where appropriate, T
               have not altered, changed, modified or fabricated these exhibits, except that some of
               the attached exhibits may contain some of my own handwritten notations.

            Pursuant to 28 U.S.C. § 1746(2), I, BRIAN COLODONATO, hereby declare (or certify,
    verify or state) under penalty of perjury that the foregoing is true and correct.




                 Date




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